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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT


  Timothy James Coates, et al.,

        Plaintiffs-Appellees                Case Nos. 22-1339, 22-1434
        and Cross-Appellants,

  v.                                        District of Colorado No.
                                            20-cv-1936-STV
  Richard A. Reigenborn, in his
  individual capacity,

  and

  Gene Claps, in his official capacity as
  Adams County Sheriff,

        Defendants-Appellants
        and Cross-Appellees.


                  Plaintiffs-Appellees’ Motion for Sanctions


        Pursuant to Federal Rule Appellate Procedure 38, Plaintiffs-

 Appellees respectfully request that this Court determine that Defendants’

 appeal is frivolous and award Plaintiffs attorney’s fees and double costs.

 Defendants oppose the relief sought in this motion.
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                               INTRODUCTION

       On September 28, 2022, the district court denied summary judgment

 on Plaintiffs’ official-capacity Monell claims stemming from their unlawful

 termination. Under well settled and unambiguous precedent, the district

 court’s decision was not a final, immediately appealable order. To appeal,

 Defendants were required to wait until after a trial on the merits, which

 was set for April 10, 2023. Instead, on October 6, 2022, Defendants initiated

 this appeal—and they did so based on obviously wrong and wholly

 meritless jurisdictional arguments. By taking their obviously improper

 interlocutory appeal, Defendants have delayed the trial of this case by at

 least a year, if not more, and have injected significant (and completely

 unnecessary) complexity and expense into the litigation. Additionally,

 Defendants have signaled their intent to take a second interlocutory

 appeal, in the event the case is remanded to the district court. Sanctions are

 appropriate to deter this kind of abusive conduct, which serves only to

 delay resolution of the litigation.

       Therefore, pursuant to Federal Rule of Appellate Procedure 38,

 Plaintiffs-Appellees respectfully request that this Court determine that




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 Defendants’ appeal is frivolous and award Plaintiffs attorney’s fees and

 double costs.

                              LEGAL STANDARD

       Federal Rule of Appellate Procedure 38 authorizes this Court to

 award damages and costs if ”an appeal is frivolous or brought for purposes

 of delay.” Braley v. Campbell, 832 F.2d 1504, 1510 (10th Cir. 1983). An appeal

 is “frivolous” when “the result is obvious” or the arguments presented “are

 wholly without merit.” Id. (internal quotation marks omitted).

       The purpose of sanctions under Rule 38 is “to penalize an appellant

 who takes a frivolous appeal and to compensate the injured appellee for

 the delay and added expense of defending the district court’s judgment.”

 Burlington N. R. Co. v. Woods, 480 U.S. 1, 7 (1987). An award of sanctions

 “also helps deter frivolous appeals.” Coinbase, Inc. v. Bielski, 143 S. Ct. 1915,

 1922 (2023).

                                  ARGUMENT

       Because “the appellant . . . bears the burden of establishing [this

 Court’s] appellate jurisdiction,” Est. of Ceballos v. Husk, 919 F.3d 1204, 1223

 (10th Cir. 2019), an appeal is frivolous if the appellant’s jurisdictional

 arguments are obviously wrong or wholly meritless, see Underwood v. Bank


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 of Am., Corp., 996 F.3d 1038, 1049 n.8 (10th Cir. 2021) (denying to award

 sanctions where the appellant’s “arguments on interlocutory appellate

 jurisdiction” were not frivolous); see also Robert J. Martineau, Frivolous

 Appeals: The Uncertain Federal Response, 1984 DUKE L.J. 845, 850 (“One

 indicator [of frivolity] is the court’s lack of jurisdiction over the appeal.”).

 That is the case here. Both of Defendants’ jurisdictional arguments—that

 the district court’s order is a denial of qualified immunity, and that it is a

 denial of Eleventh Amendment immunity—are obviously meritless and

 therefore frivolous.1

    I.     Because the lack of appellate jurisdiction is obvious,
           Defendants’ appeal is frivolous.

         Defendants have asserted jurisdiction under the collateral order

 doctrine under two theories—that the district court’s order is a denial of

 qualified immunity, and that it is a denial of Eleventh Amendment

 immunity. Appellant’s Opening Br. at 3-5. But, as shown in Plaintiff’s

 briefing, these two bases for appellate jurisdiction are obviously foreclosed

 by binding precedent.



 1 Although Plaintiffs focus here on Defendants’ jurisdictional arguments,

 Defendants’ merits arguments hardly fare better. They, too, are wholly
 without merit.

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       To begin with, the district court’s decision obviously granted qualified

 immunity on Plaintiffs’ individual-capacity claims. Defendants appealed

 only the district court’s denial of summary judgment on Plaintiffs’ official-

 capacity claims against the sheriff—and in particular, the decision that the

 sheriff was a final policymaker for Adams County for purposes of

 establishing Monell liability. But in Swint v. Chambers Cty. Comm’n, 514 U.S.

 35, 43 (1995), the Supreme Court squarely held that this kind of decision

 denying summary judgment on a Monell claim was not immediately

 appealable under the collateral order doctrine. Under Swint, it is obvious

 that this Court lacks appellate jurisdiction over Defendants’ appeal of the

 denial of summary judgment on the official-capacity claims.

       Undeterred, Defendants persisted in claiming that the denial of

 summary judgment on Plaintiffs’ official-capacity claims was a denial of

 qualified immunity for purposes of the collateral order doctrine. But at

 every turn Defendants flouted or ignored the “well-settled precedent” that

 “an official-capacity defendant—who is not entitled to rely upon qualified

 immunity—cannot pursue an interlocutory appeal as a matter of right,

 because he cannot invoke the collateral order doctrine.” Cox v. Glanz, 800

 F.3d 1231, 1255 (10th Cir. 2015) (citation omitted). And Defendants did not

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 only ignore binding precedent—they also ignored the fact that they had

 waived any qualified immunity argument with respect to the official-

 capacity claims, because they explicitly sought qualified immunity only

 with respect to the individual-capacity claims. I:175, ¶ 5; II:82-85. Since they

 never invoked—let alone argued—qualified immunity before the district

 court with respect to the official-capacity claims, under this Court’s

 precedent it should have been “clear” (i.e., obvious) to Defendants that

 there is no appellate jurisdiction. Montoya v. Vigil, 898 F.3d 1056, 1064 (10th

 Cir. 2018).

       In a last-ditch effort to create interlocutory appellate jurisdiction,

 Defendants invoked Eleventh Amendment immunity for the first time in

 their opening brief. Defs.’ Opening Br. 40-44. Tellingly, however,

 Defendants made no mention of this supposed jurisdictional basis in their

 response to Plaintiffs’ motion to dismiss for lack of jurisdiction. Instead,

 they appear to have come up with the idea only after the motion to dismiss

 was fully briefed.

       Under these circumstances, it is unsurprising that Defendants made

 no attempt whatsoever to “establish that the district court’s order []

 conclusively determined the disputed question.” Arbogast v. Kansas, 789

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 F.3d 1174, 1179-80 (10th Cir. 2015). They obviously could not do so, since

 the district court’s summary judgment order did not determine anything

 about Eleventh Amendment immunity at all. And Defendants did not cite

 a single precedent that would support the immediate appeal of an

 interlocutory order based on an immunity argument that was never

 presented, considered, or decided by the district court. To the contrary, this

 Court has held that there is no appellate jurisdiction under these

 circumstances because “there is no decision denying [] immunity. . . to

 review” on appeal. Montoya, 898 F.3d at 1064. Moreover, Defendant’s

 argument that the sheriff is an arm of the state, and thus not a county

 policymaker, is substantively the same argument the Supreme Court held

 in Swint was a “not . . . an immunity from suit” but a “mere defense to

 liability” that could “be reviewed effectively on appeal from final

 judgment.” 514 U.S. at 43.

       When confronted with the obvious lack of merit of their jurisdictional

 arguments, Defendants had little to say. Defs.’ Answer-Reply Br. at 3-5.

 They dismissed two of the precedents cited by Plaintiffs as applying only

 to a “standard” or “ordinary” case, ignored the rest (most conspicuously

 Cox), and claimed that the jurisdictional question was governed by Lewis v.

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 Clarke, 581 U.S. 155 (2017)—a decision that did not address appellate

 jurisdiction at all. Id.

          Under well-defined, existing law, there was no confusion or

 ambiguity regarding whether the district court’s denial of summary

 judgment on Plaintiffs’ Monell claims decision was a final, appealable

 order. It obviously was not, and Defendants’ decision to immediately

 appeal it was therefore “so clearly futile” and meritless as to be frivolous

 under Rule 38. McDonald v. Flake, 814 F.3d 804, 817 (6th Cir. 2016) (granting

 Rule 38 sanctions for an interlocutory appeal of a Monell claim); Howlett v.

 City of Warren, 854 F. App’x 722, 724 (6th Cir. 2021) (same).

    II.     Sanctions are particularly appropriate in the context of this case.

          Sanctions are appropriate in this case for multiple reasons.

          First, Defendants were on notice of their appeal’s frivolity from the

 start and had ample opportunity to withdraw their appeal. See Mesa

 Underwriters Specialty Ins. Co. v. Heskett, No. 22-1116, 2022 U.S. App. LEXIS

 35207, at *12 (10th Cir. Dec. 20, 2022) (noting that appellee’s counsel had

 previously raised “the lack of any factual or legal basis for the appeal and

 its intent to seek attorney fees”). On October 6, 2022—the same day the

 county’s notice of appeal was filed—undersigned counsel notified the


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 county’s counsel that “the district court’s order identified in the notice of

 appeal is not a final order,” that “there does not appear to be any

 recognized basis for appellate jurisdiction,” and that “[g]iven the lack of

 any non-frivolous basis to appeal the district court’s order on an

 interlocutory basis, . . . Plaintiff-Appellees intend to seek the fees and costs

 associated with responding to the notice of appeal under Fed. R. App. P.

 38.” Exhibit A, Oct. 6, 2022 email correspondence. And not only did

 Defendants continue to pursue their appeal even after Plaintiffs’ motion to

 dismiss was briefed—they tacked on an additional, equally meritless

 jurisdictional argument by invoking Eleventh Amendment immunity for

 the first time, after several years of litigating the case.

       The interlocutory nature of Defendants’ appeal also exacerbates the

 harm to Plaintiffs by further delaying trial in this already protracted

 litigation. As legal scholars have persuasively argued, sanctions are

 particularly appropriate for improper qualified-immunity appeals because

 of their propensity to “delay proceedings and add unnecessary complexity

 and expense to litigation.” Bryan Lammon, Sanctioning Qualified-Immunity

 Appeals, 2021 U. ILL. L. REV. ONLINE 130, 131. And when an appeal is

 dismissed on jurisdictional grounds “it puts the parties right back where

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  they were . . . with nothing to show for all the time spent on appeal.” Id. at

  138. For Defendants, however, this delay is an end in itself. “Delay benefits

  defendants in these cases. And defendants can use these appeals to wear

  down plaintiffs.” Id.

        Finally, sanctions are necessary to deter Defendants from further

  frivolous appeals in this case. In particular, in a January 3, 2023, hearing

  before the district court, Defendants’ counsel has made clear that, upon

  remand, Defendants intend to seek leave for a second summary judgment

  motion (in contravention of the Federal Rules and the district court’s

  practice standards) in order to raise their (clearly meritless) Eleventh

  Amendment immunity argument before the district court for the first time,

  and then appeal the denial. Any such appeal would be frivolous for the

  additional reason that the denial of leave to file a second motion for

  summary judgment is a discretionary procedural decision that does not

  “by itself satisfy the elements of the collateral order doctrine.” Powell v.

  Miller, 849 F.3d 1286, 1288 (10th Cir. 2017) (holding that a denial of a

  motion for reconsideration is not immediately appealable). Yet Defendants

  appear set on exhausting every conceivable appeal—no matter how




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  obviously meritless—in order to further delay the trial of Plaintiffs’ claims

  on the merits.

                                 CONCLUSION

        Because Defendant’s jurisdictional arguments are obviously wrong

  and “wholly without merit,” Braley, 832 F.2d at 1510, this Court should find

  that Defendant’s appeal is frivolous and, pursuant to Rule 38, remand to

  the district court to determine the appropriate size of the monetary award,

  including reasonable attorney’s fees and double costs, see Collins v.

  Diversified Consultants Inc., 754 F. App’x 714, 722 (10th Cir. 2018) (granting

  motion for sanctions and remanding “to the district court to make the

  required factual findings and to determine the amount of attorney fees and

  costs to be awarded”).

                                      Respectfully submitted,

                                      /s/ Felipe Bohnet-Gomez
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                            Certificate of Compliance
        As required by Federal Rule of Appellate Procedure 32(g)(1), I certify

  that this motion is proportionally spaced and contains 1,903 words. I relied

  on my word processor to obtain the count, and this information is true and

  correct to the best of my knowledge.


                                /s/ Felipe Bohnet-Gomez
                                Felipe Bohnet-Gomez




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